Case 11-44246-AJC Doc 83 Filed 07/02/12

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

IN RE:

CARLOS JAVIER ALVAREZ, CASE NO.: 11-44246-AJC
CHAPTER 13
Debtor.
/

 

DEBTORS’ RESPONSE TO TRUSTEE’S NOTICE OF NON-COMPLIANCE AND
MOTION TO DISMISS CASE UPON DENIAL OF CONFIRMATION OF PLAN

The Debtor, Carlos Javier Alvarez, by and through his undersigned counsel, file this his
Response to the Trustee’s Notice of Non-Compliance and Motion to Dismiss Case Upon Denial
of Confirmation of Plan, and in support, state as follows:

1. The Debtor’s voluntary Chapter 13 Case was filed on December 14, 2011.

2. Asaresult of changes to this case the 4" Amended Chapter 13 Plan was uploaded

on June 22, 2012 (CP # 78).

3. According to the 4"" Amended Chapter 13 Plan, the Trustee has the necessary
payments bringing the current 4" Amended Plan current through July 14, 2012.

4. Debtor’s counsel disputes the Trustee’s Notice of Compliance and Request to
Dismiss the Case Upon Denial of Confirmation.

WHEREFORE Movant prays that the Court would not Order the Dismissal of this case.

CERTIFICATE OF ADMISSION

I HEREBY CERTIFY that I am a member of the Bar of the United States District Court

for the Southern District of Florida and I am in compliance with the additional qualifications to

practice in this court set forth in Local Rule 2090-1(A).

Page 1 of 2

 
Case 11-44246-AJC Doc 83 _ Filed 07/02/12 Page 2 of 2

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the above and foregoing was mailed
via CM/ECE and first class mail, this 2" day of July, 2012, via ECF to: Nancy N. Herkert,
Trustee.

Respectfully Submitted,

Law Office of Andres Montejo

Attorney for Debtors .

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/s/_ Andres Montejo

 

Andres Montejo, Esq.
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